
PER CURIAM.
The Department of Revenue (“Department”), on behalf of Amanda G. Boeekler, appeals a Final Administrative Support Order that deviated from . the standard child support guidelines. The Department argues that the administrative law judge (“ALJ”) erred in deviating from child support guidelines based on a visitation agreement that was not court-ordered or approved. We agree with the Department and find that reversal is compelled by this court’s precedent in Department of Revenue ex. rel. Sherman v. Daly, 74 So.3d 165 (Fla. 1st DCA 2011); Department of Revenue ex. rel. Bohm v. Koehler, 77 So.3d 253 (Fla. 1st DCA 2012); and Department of Revenue ex. rel. Rambert v. Williams, 79 So.3d 240 (Fla. 1st DCA 2012).
Deviation from the child support guidelines is authorized “only where there exists a written, court-authorized parenting-plan.” Daly, 74 So.3d at 168. Because the visitation arrangement between the parents in this case was not court-author*370ized, the ALJ was not permitted to deviate from the child support guidelines. Thus, we reverse and remand this case to the Division of Administrative Hearings for further proceedings consistent with this opinion.
REVERSED AND REMANDED.
PADOVANO, ROWE, and RAY, JJ„ concur.
